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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                      §
In re:                                                                § Chapter 11
                                                                      §
IHEARTMEDIA, INC., et al., 1                                          § Case No. 18-31274 (MI)
                                                                      §
                            Debtors.                                  § (Jointly Administered)
                                                                      §

             NOTICE OF WITHDRAWAL OF DEBTORS’ MOTION FOR
           ENTRY OF AN ORDER AUTHORIZING THE DEBTORS TO FILE
    UNDER SEAL THE PERFORMANCE METRICS FOR THE 2018 INCENTIVE PLANS

       PLEASE TAKE NOTICE that on May 8, 2018, the above-captioned debtors and
debtors in possession (collectively, the “Debtors”) filed the Debtors’ Motion for Entry of an
Order Authorizing the Debtors to File Under Seal the Performance Metrics for the 2018
Incentive Plans [Docket No. 605] (the “Motion”) with the United States Bankruptcy Court for
the Southern District of Texas (the “Court”).

       PLEASE TAKE FURTHER NOTICE that the Debtors hereby withdraw the Motion
without prejudice.

       PLEASE TAKE FURTHER NOTICE that copies of all documents filed in these
chapter 11 cases are available free of charge by visiting https://cases.primeclerk.com/iheartmedia
or by calling U.S. toll free: (877) 756-7779; International: (347) 505-7142. You may also obtain
copies of any pleadings by visiting the Court’s website at https://ecf.txsb.uscourts.gov in
accordance with the procedures and fees set forth therein.




1    Due to the large number of Debtors in these chapter 11 cases, for which joint administration has been granted, a
     complete list of the Debtors and the last four digits of their tax identification, registration, or like numbers is not
     provided herein. A complete list of such information may be obtained on the website of the Debtors’ claims
     and noticing agent at https://cases.primeclerk.com/iheartmedia. The location of Debtor iHeartMedia, Inc.’s
     principal place of business and the Debtors’ service address is: 20880 Stone Oak Parkway, San Antonio, Texas
     78258.
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June 5, 2018

/s/ Patricia B. Tomasco
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                                             -and-

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                                             and Debtors in Possession
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                                     Certificate of Service

        I certify that on the June 5 2018, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                      /s/ Patricia B. Tomasco
                                                      Patricia B. Tomasco
